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                       IN TH E UNITED STATES DISTRICT COURT
                      FOR THE SO UTH ERN DISTRICT O F FLO RIDA

                            CaseNo.2:17-CV-14077-M IDDLEBROO KS

 PATRICIA FON NEGR A,

               Plaintiff,
 V,

 SUN TRU ST BAN K ,

               Defendant.
                                          /

                                  O RDER CLO SING CASE

        THIS CAUSE comtsbeforetheCourton a JointStipulation forFinalOrderofDism issal

 with Prejudice(tistipulation'),filedon August10,2017. (DE 19).TheCourtcongratulatesthe
 Parties on their amicablt resolution ofthis m atter. Pursuantto the Parties'request, the C ourt

retainsjurisdictiontoenforcetheParties'settlementagreement.
        O RDERED and ADJU DG ED thattheClerk ofCourtshallCLO SE thisCASE , Al1

pendingm otionsarehereby DENIED AS M O OT.

        DONE AND ORDERED inChambers,at                    Palm        ,Florida,thizz dayof
August,2017.


                                           D     ALD M .M IDDLEBROOK S
                                               ITED STATES DISTRICT JUDGE
CC'    A11CounselofRecord
